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                 No. 24-11642-H
    In the United States Court of Appeals
           for the Eleventh Circuit
                                CASA EXPRESS CORP.
                              Judgment Creditor/Appellant,

                                                     v.

             BOLIVARIAN REPUBLIC OF VENEZUELA, et al.
                     Judgment Debtor/Appellees.


   ON APPEAL FROM THE UNITED STATES DISTRICT COURT
          FOR THE SOUTHERN DISTRICT OF FLORIDA
                    Case No.: 1:21-CV-23103-BB
                    Hon. Beth Bloom, Presiding
__________________________________________________________________

             REPLY BRIEF OF CASA EXPRESS CORP.
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     CERTIFICATE OF INTERESTED PERSONS AND CORPORATE
                  DISCLOSURE STATEMENT

         Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure

and Eleventh Cir. R. 26.1, counsel for Casa Express Corp. hereby certifies

that to the best of counsel’s knowledge the following is a full and complete

list of the trial judge(s), all attorneys, persons, associations of persons,

firms, partnerships, or corporations that have an interest in the outcome

of this case or appeal, including subsidiaries, conglomerates, affiliates

and parent corporations, including any publicly held company that owns

10% or more of the party’s stock, and other identifiable legal entities

related to a party:

1.      Black          Srebnick            Kornspan             &        Stumpf           (Counsel            for

        Respondents/Appellees)

2.      Bloom, Hon. Beth U.S. District Court Judge, Southern District of

        Florida

3.      Bolivarian Republic of Venezuela (Judgment Debtor/Appellee)

4.      Casa Express Corp. (Appellant/Judgment Creditor)

5.      Casa Express Trust (Interested Party)

6.      Cedeno, Alejandro Andrade (Respondent/Appellee)



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23. Posh 8 Dynamic, Inc. (Respondent/Appellee)

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25. RIM Group Investments Corp. (Respondent/Appellee)

26. RIM Group Investments I Corp. (Respondent/Appellee)

27. RIM Group Investments II Corp. (Respondent/Appellee)

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                                SUMMARY OF ARGUMENT

       Appellant, Casa Express (“Casa”), respectfully submits its Reply

Brief. Appellees’ Answer Brief is fatally flawed.

       First, a question of material fact still remains as to the connexity

between the funds and the Properties. Appellees concede that

circumstantial evidence can be used to establish the direct or indirect

tracing requirement necessary to create a constructive trust. Appellees

merely dispute the weight of such evidence. This is inappropriate on a

motion for judgment on the pleadings because Casa’s allegations and

evidence are taken as true and in the light most favorable to Casa as the

nonmoving party. Disputing an issue of fact compels denying a motion

for judgment on the pleadings.

       Second, the District Court has personal jurisdiction over Gorrin.

Appellees ignore that the focus is on whether Gorrin’s actions constitute

conduct satisfying personal jurisdiction under Florida’s long-arm statute

regardless of the non-dispositive factors Appellees rely on. Florida law

establishes that Gorrin’s conduct of renting and attempting to sell the

Properties for the purpose of pecuniary gain is sufficient to carry on a

business venture and be subjected to personal jurisdiction. Additionally,


                                                       1
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because connexity remains at issue, the issue of whether Gorrin has

engaged in tortious conduct subjecting himself to personal jurisdiction is

also at issue.

       Third, Casa has standing to pursue this matter. Appellees are

wrong in four ways. Supplemental proceedings and a chose in action can

be used to assert equitable remedies such as a constructive trust.

Further, Appellees’ attempts to convert misappropriation into a case

concerning “confidential” information is refuted by the fact that nothing

in these proceedings is confidential. Moreover, Appellees are mistaken

that public policy prohibits this action because Florida and federal law

both provide statutory schemes encouraging individuals to stand in the

shoes of government and seek recovery of misappropriated government

funds. Finally, Appellees’ newfound FSIA is a red herring. Venezuela

approved of Casa’s collection attempts via these supplemental

proceedings.

       Fourth, the Properties are not immune from execution and

attachment under FSIA where, as here, they were used in commercial

activity. Appellees’ argument concerning when the Properties must be

used in commercial activity is incorrect. Appellees ignore that the case

                                                       2
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they rely upon expressly rejected a strict time-of-filing approach.

Appellees ask this Court to adopt an approach that treats when

immunity attaches under FSIA differently than when exceptions to that

immunity attach. This position is unfounded and should be rejected.

       Appellees do not address Casa’s argument that the District Court’s

conclusion that no assignment occurred is barred by the Act of State

Doctrine. Regardless, the evidence establishes that Venezuela’s pledging

of the Properties in exchange for Casa engaging in proceedings

supplementary and avoiding other collection attempts constitutes

commercial activity under 28 U.S.C. § 1610. Appellees’ argument that

collection of revenue alone does not constitute commercial activity is

irrelevant because Venezuela has pledged that recovery to satisfy its

debts in exchange for Casa ceasing other collection attempts. The

pledging of revenues to satisfy outstanding debts has been found to be

commercial activity under § 1610.

       Fifth, the Act of State Doctrine does not bar litigation. Appellees

avoid Casa’s argument that trustee ex maleficio does not require the

court to invalidate any transaction in this case. Appellees further ignore

that the Supreme Court has made clear that the Act of State Doctrine

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does not bar imputing to foreign officials an unlawful motivation in the

performance of an official act. Appellees also ignore that the unappealed

findings of the District Court have already found that Andrade and Diaz

committed breaches of trust. Whether inequitable conduct is imputed to

Andrade and Diaz or the court applies its own prior findings, the result

is the same: trustee ex maleficio can be established without invalidating

any contract.

       Appellees are also incorrect in arguing that in order for constructive

trust to apply, Casa must establish unjust enrichment which requires

invalidating contracts issued by the Venezuelan government. Once

trustee ex maleficio is established, the remedy is constructive trust.

Phrased differently, a finding of trustee ex maleficio alone is sufficient.

       Sixth, ancillary jurisdiction exists. Appellees ignore Casa’s

argument that a constructive trust seeks in equity a similar outcome as

a fraudulent transfer action: the attachment of illegitimately held assets

in the hands of third parties that are properly considered assets of the

judgment debtor. Instead, Appellees solely focus on why this case is not

a fraudulent transfer action; no one has ever alleged it was. Appellees’

argument should be rejected.

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          Seventh, Appellees’ argument as to why the lis pendens could not

be extended directly contravenes of both Florida law and OFAC

regulation. Florida law explains that a lis pendens does not create a

property interest. OFAC regulation provides the same. Moreover, even if

a lis pendens did create a property interest under OFAC regulations,

those regulations do not prohibit an extension where a party does not

currently hold an OFAC license. The regulations expressly provide that

a subsequently issued OFAC license validates any property transfers to

the holder that occurred prior to its issuance. Appellees ignore this

argument.

          The decision should be reversed and the case remanded to proceed

to discovery and trial.

                                                ARGUMENT

 I.       A QUESTION OF MATERIAL FACT REMAINS AS TO CONNEXITY BETWEEN
          THE MISAPPROPRIATED FUNDS AND THE PROPERTIES.

          In their Answer Brief, Appellees concede circumstantial evidence

can be used to establish a constructive trust. However, Appellees argue

that the circumstantial evidence raised only the “possibility of an indirect

link between the funds and the Properties” Ans. Br. 17. This is a red

herring.

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       Appellees forget the standard. The parties are on directed verdict,

not a trial on the merits. Casa does not need to “prove” its case now.

Instead, facts and inferences are taken as true in the light most favorable

to Casa—the nonmoving party. Perez v. Wells Fargo, N.A., 774 F.3d

1329, 1335 (11th Cir. 2014). Relief for Appellees is only proper if Casa

“would not be entitled to relief under any set of facts that could be proved

consistent with the allegations.” Horsley v. Rivera, 292 F.3d 695, 700

(11th Cir. 2002).

       Here, the “necessary link in the chain” is inferred via

circumstantial evidence.

       Appellees dispute whether the source of the funds alleged to be used

to purchase the Properties was from Venezuela. However, disputing the

allegations is disputing an issue of fact. Disputing a factual issue is not

appropriate on a judgment on the pleadings and compels denying the

motion. Perez, 774 F.3d at 1335.

       Appellees merely rehash the District Court’s finding that the OFAC

report does not specifically mention the Properties. However, as

conspicuously ignored by Appellees, a direct mention of the Properties

would be direct evidence of tracing, which is not required. See Wright v.

                                                       6
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Southland Corp., 187 F.3d 1287, 1293 (11th Cir. 1999) (defining “direct

evidence” as “‘evidence, which if believed, proves the existence of fact in

issue without inference or presumption’”) (quoting Black’s Law

Dictionary 460 (6th ed. 1990)).

       Appellees ignore Casa’s arguments concerning the superseding

indictment that the listing of the Properties as substitute was not

dispositive as to connexity because the Government has the authority to

reclassify the Properties as “tainted” in a subsequent civil forfeiture

proceeding. Appellees do not address U.S. v. Lazarenko, No. 21-10255,

21-10250, 2022 WL 4127712 (9th Cir. Sept. 12, 2022). The Lazarenko

Court rejected the argument that property listed as “substitute” under

21 U.S.C. § 853(p) cannot be derived directly or indirectly from the

defendant’s criminal conduct. Id. at *2. Instead, that Court held that

criminal forfeiture statutes are liberally construed; thus, property can be

listed as substitute—and subject to forfeiture—“whether it is tainted or

not.” Id. at *1. Appellees ignore Lazarenko because it directly addresses

whether property listed as “substitute” can be “tainted.” It can. This,

Court should adopt Lazarenko’s logic.




                                                       7
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          Finally, Appellees make no argument concerning the Luis Report.

Thus, they concede that: i) the Luis Report is not required to be direct

evidence of a direct or indirect link between the funds and the Properties;

and ii) the Luis Report can rely upon circumstantial evidence to reach its

conclusion. Initial Br. at CM/ECF 51-52.

II.       THE DISTRICT COURT HAS PERSONAL JURISDICTION OVER GORRIN.

  A. Gorrin carried on a business venture.

          The thrust of Appellees’ argument is that personal jurisdiction over

Gorrin is lacking because Casa did not analyze the issue under Horizon

Aggressive Growth, L.P. v. Rothstein-Krass, P.A., 421 F.3d 1162 (11th

Cir. 2005). Reliance on Horizon is misplaced.

          Horizon held that the factors listed are “relevant, but not

dispositive.” Id. at 1167. Instead, the court looks to Florida’s long-arm

statute. See generally, Sculptchair, Inc. v. Century Arts, Ltd., 94 F.3d

623, 626-627 (11th Cir. 1996). “The ‘reach of the [Florida long-arm]

statute is a question of Florida law.’” Meier ex rel. Meier v. Sun Int'l

Hotels, Ltd., 288 F.3d 1264, 1271 (11th Cir. 2002) (quoting Robinson v.

Giamarco & Bill, P.C., 74 F.3d 253, 257 (11th Cir. 1996)). “[F]ederal

courts are required to construe [such law] as would the Florida Supreme

Court. Absent some indication that the Florida Supreme Court would
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hold otherwise, [federal courts] are bound to adhere to decisions of its

intermediate courts.” Id. (internal citations and quotations omitted;

collecting cases).

       Both the Florida Supreme Court and the intermediate courts have

held that renting and listing of properties for sale for the purpose of

realizing a profit—as Gorrin did sub judice—would constitute carrying

on a business venture such that personal jurisdiction would attach. See

Labbee v. Harrington, 913 So.2d 679, 683 (Fla. 3d DCA 2005) (single act

of renting or listing for sale a property in Florida for the purpose of

realizing pecuniary gain sufficient to carry on a business venture); Id.

(“The [Florida Supreme] Court also held that the listing of a citrus grove

for sale amounted to a business venture.”) (citing Weber v. Register, 67

So.2d 619, 623 (Fla. 1953)).

       Appellees do not discuss Weber’s holding. Thus, the mere listing for

sale of the Properties “for the purpose of thereby realizing pecuniary

benefit, or otherwise accomplishing an object’” subjects Gorrin to the

personal jurisdiction of Florida. Labbee, 913 So.2d at 683 (quoting Weber,

67 So.2d at 623).




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       Appellees’ attempt to distinguish Labbee falls short. Appellees

focus on the length of time the defendant in Labbee rented the property

before selling. However, Appellees ignore that Labbee explained that

“The Florida Supreme Court has held that engaging in a single act for

profit can amount to a business venture.” Id. (emphasis added; citing

Wm. E. Strasser Constr. v. Linn, 97 So.2d 458, 460 (Fla. 1957); Weber¸

67 So.2d at 621).

       Appellees parrot the District Court’s conclusion that Casa did not

prove a profit was earned. However, Labbee makes clear earning a profit

is not required—engaging in the rental of property for the purpose of

realizing pecuniary gain is sufficient. Labbee, 913 So.2d at 683.

  B. Because connexity is at issue, a question of material fact remains
     concerning whether Gorrin’s tortious activity subjects him to
     personal jurisdiction.

       Appellees argue that Casa did not plead tortious conduct as a basis

for jurisdiction and that, in any event, tortious conduct requires

connexity that was not established. Appellees are wrong on both fronts.




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       As the Magistrate found, the issue was raised within Casa’s

Amended Motion for Proceedings Supplementary. DE 262:91 (citing DE

60 at 16).

       For sake of brevity, as explained in the Initial and Reply Briefs, an

issue of material fact exists as to connexity; thus, a material fact remains

precluding judgment on the pleadings on this basis for personal

jurisdiction. See Fed. R. Civ. P. 12(i) (allowing court to defer on issues

raised in motions for judgment on the pleadings until trial).

  C. Gorrin’s declaration fails to rebut Casa’s allegations.

       Appellees argue that because Casa did not establish that Gorrin

committed tortious conduct, he did not have to rebut Casa’s allegations.

The analysis is incomplete.

       First, Appellees ignore carrying on a business venture as a basis of

personal jurisdiction. As explained, Casa’s pleading is sufficient to

establish a prima facie case of personal jurisdiction under this basis. See

§ II A, supra.

       Second, Gorrin’s affidavit is insufficient to rebut this prima facie

case because once a prima facie case is established, “the district court



1 CM/ECF Ribbon page number.

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must accept the facts alleged as true, to the extent they are

uncontroverted by the defendant’s affidavits.” Madara v. Hall, 916 F.2d

1510, 1514 (11th Cir. 1990). Furthermore, affidavits containing only

conclusory assertions or general denials of wrongdoing do not shift the

burden back to plaintiff. Id.; Acquadro v. Bergeron, 851 So.2d 665, 672-

673 (Fla. 2003); Thorpe v. Gelbwaks, 953 So.2d 606, 610 (Fla. 5th DCA

2007); International Underwriters AG v. Triple I: Int’l Inv., Inc., No. 06-

80966, 2007 WL 9701852, *5 (S.D. Fla. May 30, 2007); Tavakoli v.

Doronin, No. 18-21592, 2019 WL 1242669, *9 (S.D. Fla. March 18, 2019).

       Appellees do not address the substance of Gorrin’s declaration—one

that Casa argued does not address allegations of either basis for personal

jurisdiction and merely contains general denials of wrongdoing.

       The declaration is insufficient.

  D. Due process is not offended.

       Appellees do not address a single basis raised for why due process

is not offended. Instead, Appellees raise the new argument that proper

jurisdiction would be Venezuela. Appellees cite nothing to support this

conclusion. The properties over which a constructive trust would issue

are located in this jurisdiction; thus, jurisdiction is proper. See Hirchert


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Family Trust v. Hirchert, 66 So.3d 548, 551 (Fla. 5th DCA 2011)

(California final judgment ordering constructive trust not entitled to full

faith and credit where property was located in Florida; California court

lacked quasi in rem jurisdiction over the property).

           Proper jurisdiction for a constructive trust case is where the

property is located.

III.       CASA HAS STANDING.

           Appellees argue Casa lacks standing to assert a chose in action.

Appellees are wrong.

           First, Appellees are incorrect that a chose in action does not apply

to equitable remedies. Appellees cite two cases in support: Myd Marine

Distrib., Inc. v. Int’l Paint Ltd., 201 So.3d 843, 845 (Fla. 4th DCA 2016)

and Puzzo v. Ray, 386 So.2d 49 (Fla. 4th DCA 1980). Myd quotes Black’s

law dictionary on the definition of a “chose in action.” 201 So.3d at 845.

While Puzzo also quotes this language, Puzzo repeatedly explains that

proceedings supplementary cover claims once available in a court of

equity:




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       •       “‘Such proceedings are considered a substitute for a creditor's

bill in chancery….’” Puzzo, 386 So.2d at 50 (quoting Richard v. McNair,

164 So. 836, 840 (Fla. 1936)) (emphasis added).

       •       “However, an assignable right of action for a tort occasioning

injury to property, or for conversion of property, even though the

converted property has been used to pay a creditor of the debtor, may be

reached by bill in equity, or under statutory provisions analogous

thereto.” Id. (quoting 21 C.J.S. Creditors’ Suits § 29) (emphasis added).

       •       “‘Since, however, the purpose of these statutory proceedings

supplementary to execution is the same as that of the original creditor's

bill in equity namely, to enable the creditor to reach property which could

not otherwise be made to contribute to the payment of the judgment the

statutory proceedings should be given an operation at least as broad as

that of the creditor's bill. Accordingly, inasmuch as claims arising from

torts committed on the property of a judgment debtor were within the

reach of the judgment creditor under the old equity proceeding, it has

been held that such claims may constitute the basis of a suit by a

judgment creditor.’” Id. at 51 (quoting Travis Glass Co. v. Ibbetson, 200

P. 595, 596-597 (Cal. 1921)) (emphasis added).

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       Moreover, Hillsborough Cnty. v. Dickenson, 169 So. 734 (Fla. 1935)

found that a judgment creditor may pursue a constructive trust remedy

that its debtor may possess. Id. at 737. Although Appellees try to

distinguish its facts, they ignore its holding. The case does not say it is

solely limited to the facts. Appellees cite no case supporting that

Hillsborough has been so limited.

       Second, Appellees do not explain how misappropriation is akin to a

personal tort and not a tort occasioning injury or property or for

conversion. Appellees do not attempt to distinguish Appellants’ cases

which demonstrate misappropriation and fraud claims are freely

assignable. Instead, Appellees try to shoehorn a misappropriation case

into a “confidential” relationship. Not only did they not raise this

argument below, but is also flawed. Who the treasurers of Venezuela are

is not confidential information. Nor is who received the preferential

government contracts. Not a single piece of evidence has been cited

concerning anything “confidential.” Fundamentally, Appellees are

engaging in wordplay and attempting to replace the term “highly

sensitive”—which still has not been defined by Appellees or the District




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Court—with “confidential” in order to shoehorn this case into cases

concerning attorney-client privilege. The argument should be rejected.

       Third, Appellees’ public policy arguments are wrong. In fact, the

opposite is true. Appellees ignore Casa’s argument that both Florida and

the federal government encourage private citizens to stand in the shoes

of the government to reclaim misappropriated funds via qui tam and

whistle blower suits.

       Appellees cite Donan v. Dolce Vita Sa, Inc., 992 So.2d 859, 861 (Fla.

4th DCA 2008) to argue that Casa’s prosecution of Venezuela’s chose in

action is “inequitable and against public policy” because of the “sensitive

sovereign issues involved.” Ans. Br. 12-13. However, Donan presented a

remarkably different situation. Id. at 860. There, a judgment creditor

sought to execute a chose in action that its judgment debtor was

prosecuting against the judgment creditor itself. The issue thus

presented in Donan was whether it was error to quash “the notice of

sheriff’s sale [of the chose in action] knowing that the judgment creditor

sought to dismiss the judgment debtor’s case against [the judgment

creditor] by purchasing the judgment debtor’s lawsuit.” Id. at 861.




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Relying on an out-of-state case with similar facts, the Donan court

exercised its discretion to affirm the quashing of the sheriff’s sale:

               The [Washington] court recognized that the Washington
               [execution] statute, which is similar to that in Florida,
               broadly provided that “[a]ll property, real and personal,
               of the judgment debtor, not exempted by law, shall be
               liable to execution.” Id. at 513. The court, however,
               characterized the possibility of control of both sides of
               the lawsuit falling into the hands of one party as
               “grossly inequitable” because it would deprive the
               judgment debtor of the opportunity to establish his
               claim. Id. at 514.

               This is a case of first impression in Florida and we, like
               the trial court, are persuaded by the Washington Court's
               opinion in Paglia. If [judgment creditor] succeeded in
               purchasing [judgment debtor’s] claim at the sheriff's
               sale, he would then be able to dismiss [judgment
               debtor’s] case against him without [judgment debtor]
               ever having its breach of contract claim resolved on the
               merits. Such a finding would foster an inequitable
               result.

Id. at 861 (emphasis added; quoting Paglia v. Breskovich, 11 Wash.App.

142, 522 P.2d 511 (Wash.App. 1974)). Casa is not alleged to be in “control

of both sides of the lawsuit” as occurred in Donan, at 861--i.e., Casa does

not seek to execute upon a chose in action in which Casa itself is exposed




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to liability with the ulterior motive of eliminating that chose in action.

Thus, Appellees’ citation to Donon is inappropriate.2

       Fourth, Appellees’ FSIA argument—which was not raised below—

is a red herring. Casa’s proposal to Venezuela specifically sought

approval for the proceedings supplementary to execute on the Properties.

DE 276-3, A. 1471; DE 276-2, A. 1466-1467. Venezuela approved this

request. DE 276-4, A. 1484; 276-5, A. 1495; 276-6, A. 1500. As explained

in the Initial Brief, the pledging of the Properties in exchange for Casa to

forego      other       collection          attempts          outside         of     the       proceedings

supplementary constituted “commercial activity” under section 1610 of

FSIA. Initial Brief at CM/ECF 69-77; § IV, infra.




                                         Myd Marine Distrib., Inc., 201
2 The same goes for Appellees’ citation to

So.3d at 846. See Ans. Br. CM/ECF 27. In that case, the same court that
decided Donan held as follows: “Donan thus presents facts that
distinguish it from this case. Unlike the judgment creditor in Donan,
Donovan is not the defendant in the Lauderdale Marine case and is not
seeking to have MYD's rights transferred to dismiss the case and obtain
a windfall. On the contrary, Donovan cannot recover what it is owed
unless it successfully litigates the Lauderdale Marine case. On this
record, the trial court did not abuse its discretion by permitting the
assignment of the lawsuit.” Myd Marine, 201 So.3d at 846.
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IV.       THE PROPERTIES ARE NOT IMMUNE FROM EXECUTION AND ATTACHMENT
          UNDER FSIA BECAUSE THEY WERE USED IN COMMERCIAL ACTIVITY.

  A. Appellees’ time-of-filing logic is flawed.

          Appellees cannot rely upon TIG Ins. Co. v. Republic of Argentina,

967 F.3d 778 (D.C. Cir. 2020) to argue that commercial use must occur

prior to filing suit in order for the commercial use exception to FSIA

immunity to apply.

          As explained in Casa’s Initial Brief, TIG does not address the

question directly. Appellees ignore this argument entirely. Instead,

Appellees attempt to take a case which addresses whether subsequent

post-filing non-commercial use creates immunity and shoehorn it to this

case, which asks the opposite question—whether FSIA exceptions apply

to subsequent commercial use.

          Appellees ask this Court to adopt a reasoning that is solely focused

on the time of filing based on TIG. However, TIG expressly rejected that

approach because it would encourage gamesmanship. Id. at 786 (noting

it would “be odd to confine a district court’s examination to the property’s

use at the exact moment when the suit was filed. That approach would

again encourage gamesmanship.”).



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       Appellees dismiss Casa’s argument that adopting a time-of-filing

rule would treat when FSIA immunity attaches—or as Appellees phrase

it when FSIA jurisdiction attaches—differently than when the exceptions

to that immunity attach. Appellees’ reliance on Dole Food Co. v.

Patrickson, 538 U.S. 468 (2003) is misplaced because Dole has nothing to

do with the commercial use exception. Dole deals with whether a

corporation is considered an agent or instrumentality of the state under

28 U.S.C. § 1603(b). Appellees use wordsmithing to infer that

“instrumentality”             means          an      object        used        in     commerce.             But

“instrumentality” has no such meaning under 28 U.S.C. § 1603(b).

  B. Venezuela’s actions constitute commercial activity.

       Appellees argue three bases for why the District Court’s decision

was correct. Each is wrong.

       Appellees argued that the District Court correctly held that no

assignment occurred. However, Appellees ignored Casa’s argument that

Venezuela’s approval process of claimants could not be reviewed by the

District Court under the Act of State Doctrine. Appellees made no

attempt to explain why the Act of State Doctrine would not apply.

Relatedly, Appellees ignore the argument that merely disagreeing with


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Casa as to whether an assignment occurred creates a factual dispute that

cannot be resolved on a judgment on the pleadings.

       Appellees are simply wrong in concluding that the pledging of the

Properties by Venezuela in exchange for Casa utilizing proceedings

supplementary in this case and foregoing other attempts to collect on its

judgment does not constitute commercial activity under 28 U.S.C. §

1610(a).

       Appellees rely on Connecticut Bank of Com. v. Republic of Congo,

309 F.3d 240 (5th Cir. 2002), which is distinguishable. That case notes

that collection of revenue from a commercial transaction alone is not

commercial activity under § 1610. Id. at 254. Here, however, Venezuela

is not merely collecting revenue—it is pledging the Properties collected

via supplemental proceedings in exchange for cessation of other collection

methods. The Fifth Circuit, which decided Connecticut Bank, has held

that this additional pledging of revenue to pay down debt is sufficient to

constitute commercial activity under § 1610. Af-Cap Inc. v. Republic of

Congo, 383 F.3d 361, 370-371 (5th Cir. 2004), decision clarified on reh'g,

389 F.3d 503 (5th Cir. 2004) (where “the Congo has used at least fifty

percent of [the tax and royalty obligations] to repay commercial debt,”

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court concluded that the “tax and royalty obligations are used for

commercial purposes of § 1610(a) of the FSIA.”); see also Crystallex Int'l

Corp. v. Bolivarian Republic of Venezuela, 932 F.3d 126, 151 (3d Cir.

2019) (pledging of debts considered commercial activity under § 1610).

         Regardless of whether any revenue is generated from the

Properties, those Properties have been pledged to satisfy a debt in

exchange for Casa forgoing other collection attempts. Nothing more is

needed to establish commercial activity under § 1610.

V.       AS PLED, THE ACT OF STATE DOCTRINE DOES NOT BAR LITIGATION.

         Appellees argue that Casa cannot raise its trustee ex maleficio

argument on appeal and that, regardless, the Act of State Doctrine bars

Casa’s case. Appellees are wrong on both fronts.

         The issue of whether the Act of State Doctrine applies was raised

below; thus, under Eleventh Circuit precedent, Casa may raise additional

argument. While this Court has “repeatedly held that an issue not raised

in the district court and raised for the first time in an appeal will not be

considered[,]” it has explained that “there is a difference between raising

new issues and making new arguments on appeal.” VFS Leasing Co. v.

Markel Ins. Co., No. 22-13338, --F.4th--, 2024 WL 4614858, at *3 (11th


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Cir. Oct. 30, 2024) (quotations and citations omitted). “When an issue has

been properly presented, a party can make any argument in support of

that [issue]; parties are not limited to the precise arguments they made

below.” Id. (quotations omitted); see also Sec’y, U.S. Dep’t of Labor v.

Preston, 873 F.3d 877, 883 n.5 (11th Cir. 2017) (“Parties can most

assuredly waive positions and issues on appeal, but not individual

arguments .... Offering a new argument or case citation in support of a

position advanced in the district court is permissible—and often

advisable.” (citation omitted)); ECB USA, Inc. v. Chubb Ins. Co. of N.J.,

113 F.4th 1312, 1320 (11th Cir. 2024) (“Litigants can waive or forfeit

positions or issues through their litigation conduct in the district court

but not authorities or arguments.”).

       Turning to the merits, Appellees are doubly wrong: i) the District

Court need not invalidate any act of state to determine trustee ex

maleficio; and ii) once trustee ex maleficio is established, the remedy is a

constructive trust.

       First, the Act of State doctrine only arises when the court must

decide the validity of official action. W.S. Kirkpatrick & Co., Inc. v.

Environmental Tectonics Corp., Intern., 493 U.S. 400, 406 (1990).

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Appellees ignore that a finding of trustee ex maleficio does not invalidate

the underlying transactions. Instead, it merely results in a finding that

the current holders of the Properties—the Appellees—are considered

trustees over the inequitably held property. Bell v. Smith, 32 So.2d 829,

832 (Fla. 1947); Quinn v. Phillips, 113 So. 419, 428 (Fla. 1927) (Whitfield,

J., concurring); Connelly v. Fla. Nat’l Bank of Jacksonville, 120 So.2d

647, 650 (Fla. 2d DCA 1960). Appellees do not discuss any of these cases.

       Appellees argue that legality of the actions of Andrade and Diaz are

“central to and inextricably intertwined” with Casa’s claim. This is a red

herring.

       Appellees ignore that both Kirkpatrick and Lamb v. Phillip Morris,

Inc., 915 F.2d 1024, 1027 (6th Cir. 1990) have explained that the

“doctrine does not ‘bar[] a court … from entertaining a cause of action

that … require[s] imputing to foreign officials an unlawful motivation

(the obtaining of bribes) in the performance of … an official act.’” Lamb,

915 F.2d at 1027 (quoting Kirkpatrick, 493 U.S. at 401). Imputing to

Andrade and Diaz an unlawful motivation would be sufficient to

establish trustee ex maleficio. Bell, 32 So.2d at 824 (trustee ex maleficio

arises where one acquires “property by fraud, misrepresentation,

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imposition, concealment, or under any other such circumstances as

render it inequitable for him to retain it.”). In any event—and ignored by

Appellees—the unappealed findings of the District Court are that

Andrade and Diaz committed breaches of trust and that constructive

trusts are appropriate as to them. DE 216, 219; A. 959-962, 975-978.

       Second, Appellees are incorrect in asserting that unjust enrichment

must be established to impose a constructive trust where trustee ex

maleficio has been found. Where trustee ex maleficio is established, the

remedy is constructive trust. Bell, supra; Quinn, supra; Connelly, supra.

Appellees have cited no case where trustee ex maleficio has been found

that has then required the parties to establish separate additional

elements of constructive trust, including unjust enrichment. The finding

of inequitable conduct is sufficient to establish a constructive trust.

Tillman v. Pitt Cole Co., 82 So. 2d 672, 674 (Fla. 1955) (“By their

pleadings the appellants Tillman and DeForest are seeking to hold the

appellee Cole, who was the purchaser at a foreclosure sale, a ‘trustee in

invitum’ and to impress on the property in question a ‘trust ex maleficio’.

Equity will raise a constructive trust where one through fraud, abuse of

confidence or other questionable means acquires property which in

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equity and good conscience he should not be permitted to hold.”)

(collecting cases).

VI.       PEACOCK DOES NOT BAR ANCILLARY JURISDICTION BECAUSE THE
          PROPERTIES ARE ALLEGED TO BE ILLEGITIMATELY HELD BY APPELLEES.

          Appellees argue that because this case is not a fraudulent transfer

case, the District Court lacked ancillary jurisdiction pursuant to Peacock

v. Thomas, 516 U.S. 349 (1996). Appellees’ argument misses the mark.

          Appellees ignore Casa’s argument that this Court’s logic in

Straub—that Peacock does not apply where a judgment creditor does not

seek to impose liability for a judgment on a third party—is not limited to

fraudulent transfer actions. See Nat’l Mar. Servs., Inc. v. Straub, 776

F.3d 783, 787 (11th Cir. 2015). Instead, Appellees spend pages explaining

why this case is not a fraudulent transfer case. No one has argued that

this case is a fraudulent transfer case. Instead, the argument has been

that this Court has never held that Straub’s logic was limited in

application to fraudulent transfer cases.

          Appellees also ignore the similarities between: i) a constructive

trust action—an action in equity that seeks to establish a trust over

illegitimately held assets in the hands of a third party; and ii) a

fraudulent transfer action—a legal action that seeks to recover

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possession of illegitimately held assets in the hands of a third party.

Appellees’ logic amounts to if Venezuela gave them the assets to avoid

recovery, they would be illegitimately held and not subject to Peacock;

however, where it is alleged that Appellees fraudulently procured these

assets from Venezuela, such assets are not illegitimately held and no

ancillary jurisdiction can exist. An argument that amounts to Appellees

stole this money fair and square should be rejected by this Court.

       Appellees further ignore the Third Circuit’s logic in Gambone v.

Lite Rock Drywall, 288 Fed.Appx. 9, 12-13 (3d Cir. 2008) that Peacock is

limited to cases “demanding that a third party use its legitimately held

assets to satisfy a previously rendered judgment.” (emphasis added).

       Put simply, Appellees put forth no argument as to why, on the one

hand, Venezuelan assets alleged to be illegitimately held via fraudulent

transfer can be the subject of ancillary jurisdiction, but, on the other

hand, Venezuelan assets alleged to be illegitimately held and subject to

a constructive trust—as in this case—cannot be the subject of ancillary

jurisdiction. In either case, the assets are illegitimately held by

Appellees; thus, Peacock would not be implicated. Straub, 776 F.3d at

787; Gambone, 288 Fed.Appx. at 12-13.

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VII.       THE DISTRICT COURT ERRED IN NOT EXTENDING THE LIS PENDENS.

           Appellees’ arguments as to why the District Court was correct in

 denying Casa’s request for an extension to the lis pendens ignores Florida

 law and OFAC regulation.

           Appellees argue that Casa waived its argument. As explained

 above, where the issue of whether an error occurred in denying the

 extension of lis pendens was raised below, Casa is entitled to raise new

 arguments as to that issue on appeal. VFS Leasing Co., 2024 WL 4614858

 at *3.

           Appellees argue that because the “effect” of a lis pendens is

 “constraining” on the property owner, it creates an interest in the

 Properties. Ans. Br. at CM/ECF 63. However, this is contrary to Florida

 law. Appellees ignore and do not address any case cited by Casa that

 explains that a lis pendens does not create an interest in property.

 Appellees ignore these cases because these cases explain that “[t]he lis

 pendens mechanism is not designed to aid either side in a dispute….”

 Centerstate Bank Cent. Florida, N.A. v. Krause, 87 So.3d 25, 28 (Fla. 5th

 DCA 2012); see also Dowdy v. Charter Financial Group, Inc., 122

 F.Supp.2d 1347, 1350 (M.D. Fla. 2000) (purpose of Florida lis pendens


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statute to provide notice to prospective purchasers of suit) (citing

Chiusolo v. Kennedy, 614 So.2d 491, 492 (Fla. 1993)).

       Phrased differently, Casa’s suit alone does not create an interest in

the Properties. It is a judgment that creates an interest. OFAC

recognized this when it found that Casa’s litigation—in and of itself—

does not require a license to proceed because it does not create or perfect

a property right. DE 257-1:3; 283:37; A. 1177-1178, 1531-1578. Where

suit alone does not create an interest, notice of the suit to others—by

necessity—does not create an interest. This makes sense because, when

viewed through the lens of Florida law and OFAC regulation, a lis

pendens does not create, surrender, release, convey, transfer, or alter any

interest with respect to property. 31 C.F.R. § 591.310; Centerstate Bank

Cent. Florida, N.A., 87 So.3d at 28; Dowdy, 122 F.Supp.2d at 1350;

Chiusolo, 614 So.2d at 492.

       “A common idiom describes property as a ‘bundle of sticks’—a

collection of individual rights which, in certain combinations, constitute

property.” United States v. Craft, 535 U.S. 274, 278 (2002) (citing B.

Cardozo, Paradoxes of Legal Science 129 (1928) (reprint 2000); Dickman

v. Commissioner, 465 U.S. 330, 336 (1984)). No stick is removed from that

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bundle by the filing of a notice of lis pendens. This is why Appellees and

the District Court’s logic that notice is barred by OFAC regulations is

mistaken.

       Even if the lis pendens could be classified as a “transfer” of property

under 31 C.F.R § 591.310, 31 C.F.R. § 591.202(c) provides that the

issuance of an OFAC license validates transfers that took place prior to

the license’s issuance. In other words, assuming the extension of a lis

pendens constitutes a “transfer” under OFAC regulations, OFAC

regulations do not prohibit the extension of a lis pendens where no OFAC

license has been issued because that “transfer” of property can be

subsequently ratified by the issuance of an OFAC license after the fact.

31 C.F.R. § 591.202(c); Crystallex Int’l Corp. v. Bolivarian Republic of

Venezuela, No. 17-151, 2022 WL 611586, *9-12 (D. Del. March 2, 2022)

(use of judicial process authorizing sale without OFAC license does not

offend 591.202(e) because 591.202(c) empowers OFAC to retroactively

authorize this transfer).

       Appellees do not address 31 C.F.R. § 591.202(c) or Crystallex.

Appellees do not because they cannot. Nothing in the OFAC regulations

prohibits the extension of a lis pendens.

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                                           CONCLUSION

       Casa Express Corp. respectfully requests that this Court reverse

the order of the District Court and remand with instructions to deny

Gorrin and the Shell Entities’ separate motions for judgment on the

pleadings, and grant Casa’s motion to extend lis pendens and cross-

motion to serve Gorrin via e-mail.

Respectfully Submitted,                                              Dated: December 6, 2024


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